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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                             )
OCEANA, INC.,                                )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )             Civil Action No. 12-0041 (PLF)
                                             )
WILBUR ROSS,                                 )
United States Secretary of Commerce, et al., )
                                             )
               Defendants.                   )
_________________________________________ )


                              FINAL ORDER AND JUDGMENT

              For the reasons given in the Opinion issued this same day, it is hereby

              ORDERED that judgment shall be entered for the defendants. This is a final

appealable order. See FED. R. APP. P. 4(a).

              SO ORDERED.


                                                /s/
                                              _______________________________
                                              PAUL L. FRIEDMAN
                                              United States District Judge

DATE: October 1, 2020
